Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-4, PageID.3964 Filed 12/04/23 Page 1 of
                                       3




                             EXHIBIT C
Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-4, PageID.3965 Filed 12/04/23 Page 2 of
                                       3


From: Pastula, Julianne (MICRC) <PastulaJ1@michigan.gov>
Sent: Monday, October 11, 2021 4:30 PM
To: Lange, Rhonda (MICRC) <LangeR2@michigan.gov>
Subject: Measures



Dear Rhonda,



I've attached Dr. Handley's PPT which shows the numbers for gerrymandered districts. I've also attached Bruce's P&C
memo on deviations for you.



Remember lower is better but have some leeway to explain/justify the numbers:



Equal population deviation:

State legislative 0-5%

Congressional less than 0.3% (up to 0.4% pending compliance analysis)



VRA:

Wayne & Genesee Counties 35-40% BVAP

Oakland & Saginaw Counties 40-45% BVAP



Partisan Fairness:

SeatsNotes Ratio: Party w/majority votes should win majority of seats. Small gap ok if in favor of party with majority seats.


Lopsided margins - less than 8%

Mean Median: less than 5

Efficiency Gap 7-8% could indicate potential issue



Bruce is sitting next to me and concurs!



Please reach out with any specific questions or issues.



Julianne Pastula

General Counsel

State of Michigan

Independent Citizens Redistricting Commission

517.331.6318

                                                                                                                                1/2
         Case 1:22-cv-00272-PLM-RMK-JTN ECF No. 114-4, PageID.3966 Filed 12/04/23 Page 3 of
         PastulaJ 1@Michigan.gov                3




2 attachments
  Partisan fairness_suggested unacceptable scores Dr Handley Oct 5.pptx
.'ij'I
� 172K
..-. P&C MICRCOne Person One Vote and Acceptable Population Deviations Circulated June 24.pdf
 ll:'.:l 147K




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